     Case 1:18-cv-00950-LO-JFA Document 76 Filed 01/18/19 Page 1 of 3 PageID# 1683



                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



                       PLAINTIFFS’ MOTION FOR TEMPORARY SEALING

            Pursuant to Rule 26 of the Federal Rules of Civil Procedure, and Local Civil Rule 5(C),

     Plaintiffs move the Court to enter an order allowing Plaintiffs to file under temporary seal a portion

     of their Memorandum in Support of Plaintiffs’ Motion to Compel (ECF No. 71), and two

     accompanying exhibits (PX 1610 and PX 5003). Plaintiffs’ memorandum contains documents and

     information that Defendants Cox Communications, Inc. and CoxCom, LLC (collectively “Cox”)

     designated as “Highly Confidential—Attorneys’ Eyes Only” or “Confidential” under the stipulated

     protective order. ECF No. 58.

            Plaintiffs do not believe the documents or information that are the subject of this motion

     should be subject to any confidentiality protection because they were used in open court and

     admitted into evidence during the public trial in BMG Rights Management v. Cox Communications,

     Inc. et al., 1:14-cv-1611 (the “BMG Litigation”).        Plaintiffs have been forced to so move

     nevertheless because Cox insists on maintaining improper designations over publicly disclosed

     trial exhibits and testimony. Plaintiffs have informed Cox that they dispute these and all such

     designations. The process for resolving those disputes is set forth by the Stipulated Protective

     Order (ECF No. 58) and that process is under way. Plaintiffs therefore request temporary sealing
Case 1:18-cv-00950-LO-JFA Document 76 Filed 01/18/19 Page 2 of 3 PageID# 1684



to comply with the Court’s Stipulated Protective Order in this action and to allow Cox, as the

designating party, to respond and explain why such sealing is necessary.

       1.      Plaintiffs cite two trial exhibits from the BMG litigation in support of their Motion

to Compel: PX 1610 and PX 5003. PX 1610 is a copy of Cox’s First Supplemental Responses to

Plaintiffs’ First Set of Interrogatories in the BMG case, with objections and certain interrogatories

redacted. PX 1610 was admitted into evidence with no steps taken to limit its public disclosure.

BMG Tr. at 1147, attached hereto as Ex. A.

       2.      PX 5003 is a written transcript of the video designation testimony of Cox’s

Manager of Customer Safety and Abuse Operations, Jason Zabek. The video was played in open

court but the testimony was not transcribed in the trial transcript. BMG. Tr. at 1130. Instead, PX

5003 was admitted without objection. BMG Tr. at 1130, 1149.

       3.      Local Civil Rule 5(C) provides that “[w]hen a party moves to file material under

seal because another party has designated that material as confidential, the party designating the

material as confidential must file a response to the motion,” which includes:

               a. “A statement why sealing is necessary, and why another procedure will not

                   suffice, as well as appropriate evidentiary support for the sealing request.” L.

                   Civ. R. 5(C)(2).

               b. “References to the governing case law, an analysis of the appropriate standard

                   to be applied for that specific filing, and a description of how that standard has

                   been satisfied.” Id. 5(C)(3).

               c. “Unless permanent sealing is sought, a statement as to the period of time the

                   party seeks to have the matter maintained under seal and how the matter is to

                   be handled upon unsealing.” Id. 5(C)(4).

               d. A proposed order.



                                                     2
  Case 1:18-cv-00950-LO-JFA Document 76 Filed 01/18/19 Page 3 of 3 PageID# 1685




                                                  Respectfully submitted,


Dated January 18, 2019                            /s/ Scott. A Zebrak
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